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MINUTE ENTRY
AFRICK, J.
February 28, 2018
JS-10 1:15

                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                              CIVIL ACTION

VERSUS                                                                  No. 12-859

MARLIN GUSMAN, ET AL.                                                  SECTION I


      A status conference was held in chambers in this case on this date, with

counsel participating on behalf of all parties. The Lead Monitor and the Acting

Compliance Director also participated.

      In light of conference discussions,

      IT IS ORDERED that, in light of the recent appointment of the Acting

Compliance Director, the March 1, 2018 deadline to submit a 60-day report is

SUSPENDED. The next 60-day report shall be due on May 1, 2018.

      IT IS FURTHER ORDERED that a status conference is set for

Thursday, May 24, 2018, at 7:30 am in chambers. In addition to counsel for the

parties, the Lead Monitor and the Acting Compliance Director shall attend in

person.

      New Orleans, Louisiana, February 28, 2018.



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                                                 LANCE M. AFRICK
                                         UNITED STATES DISTRICT JUDGE
